
		
				RE SUSPENSION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS2023 OK 15Decided: 02/21/2023THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2023 OK 15, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

RE: Suspension of Certificates of Certified Shorthand Reporters
ORDER
The Oklahoma Board of Examiners of Certified Shorthand Reporters has recommended to the Supreme Court of the State of Oklahoma the suspension of the certificate of each of the Oklahoma Certified Shorthand Court Reporters listed on the attached Exhibit for failure to comply with the annual renewal requirements for 2023.
Pursuant to 20 O.S., Chapter 20, App. 1, Rules 20(c) and 23(d), failure to satisfy the annual renewal requirements on or before February 15 shall result in administrative suspension on that date.
IT IS THEREFORE ORDERED that the certificate of each of the court reporters named on the attached Exhibit is hereby suspended effective February 21, 2023.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 21ST day of FEBRUARY, 2023.
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR.
_CSR Exhibit A


Name

CSR #

Reason


Shana Bay

CSR #1659

Renewal Fee and Continuing Education


Kayla Carlock

CSR #1381

Renewal Fee and Continuing Education


Mignon Cruchon

CSR #1566

Continuing Education


Julia Jackson

CSR #2024

Renewal Fee and Continuing Education


Carrie Lamontagne

CSR #1976

Renewal Fee and Continuing Education


Kathleen McClanahan

CSR #283

Renewal Fee


Kristy Owen

CSR #2018

Renewal Fee and Continuing Education


Judy Thompson

CSR #1674

Renewal Fee


Leslie Thompson

CSR #1690

Renewal Fee and Continuing Education








